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                   EXHIBIT A
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     PRELIMINARY INSTRUCTION # X: Evidence Not Admissible Against Christopher
                                Cantwell 1
         Each party is entitled to have the case decided based solely on the evidence which applies

 to that party. Some of the evidence in this case is limited under the rules of evidence to some of

 the parties and cannot be considered against others. Plaintiffs have introduced the deposition

 testimony of Samantha Froelich as evidence in this case. I instruct you that Ms. Froelich’s

 deposition testimony should not be considered as evidence against Defendant Christopher

 Cantwell, because he was not present for the deposition. However, Ms. Froelich’s testimony may

 be considered as evidence against all other Defendants in this case.




 1
  See Seventh Circuit Pattern Jury Instruction No. 2.03; Eighth Circuit Pattern Jury Instruction No. 2.08; Western
 District of Virginia Standard Jury Instructions.
